 Fill in this information to identify the case:
 Debtor name The Diocese of Buffalo, N.Y.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):                                                                                                                         amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and complete mailing           Name, telephone number and email address of              Nature of claim               Indicate if claim is      Unsecured claim
 address, including zip code                     creditor contact                                         (for example, trade debts,       contingent,
                                                                                                          bank loans, professional       unliquidated, or
                                                                                                          services, and government           disputed
                                                                                                          contracts)
 M&T Bank                                        Hodgson Russ LLP                                                                      Contingent                $1,600,000.00
 One M&T Plaza                                   Attn: Garry M. Graber, Esq.
 Buffalo, NY 14203                               140 Pearl Street, Suite 100
                                                 Buffalo, NY 14202
                                                 (716) 848-1273

 AB 55 Doe                                       Jeff Anderson & Associates, P.A.                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Jeffrey R. Anderson, Esq.                                                       Unliquidated
                                                 52 Duane Street, 7th Floor                                                            Disputed
                                                 New York, NY 10007
                                                 (888) 920-9258

                                                 Law Offices of Steve Boyd & John Elmore
                                                 Attn: Stephen Boyd, Esq.
                                                 40 North Forest Road
                                                 Buffalo, NY 14221
                                                 (716) 400-0000
 AB 131 Doe                                      Jeff Anderson & Associates, P.A.                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Jeffrey R. Anderson, Esq.                                                       Unliquidated
                                                 52 Duane Street, 7th Floor                                                            Disputed
                                                 New York, NY 10007
                                                 (888) 920-9258

                                                 Law Offices of Steve Boyd & John Elmore
                                                 Attn: Stephen Boyd, Esq.
                                                 40 North Forest Road
                                                 Buffalo, NY 14221
                                                 (716) 400-0000




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                           page 1

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 Debtor    The Diocese of Buffalo, N.Y.                                                                      Case number (if known)
           Name

 Name of creditor and complete mailing           Name, telephone number and email address of              Nature of claim               Indicate if claim is      Unsecured claim
 address, including zip code                     creditor contact                                         (for example, trade debts,       contingent,
                                                                                                          bank loans, professional       unliquidated, or
                                                                                                          services, and government           disputed
                                                                                                          contracts)
 AB 97 Doe                                       Jeff Anderson & Associates, P.A.                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Jeffrey R. Anderson, Esq.                                                       Unliquidated
                                                 52 Duane Street, 7th Floor                                                            Disputed
                                                 New York, NY 10007
                                                 (888) 920-9258

                                                 Law Offices of Steve Boyd & John Elmore
                                                 Attn: Stephen Boyd, Esq.
                                                 40 North Forest Road
                                                 Buffalo, NY 14221
                                                 (716) 400-0000

 AB 49 Doe                                       Jeff Anderson & Associates, P.A.                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Jeffrey R. Anderson, Esq.                                                       Unliquidated
                                                 52 Duane Street, 7th Floor                                                            Disputed
                                                 New York, NY 10007
                                                 (888) 920-9258

                                                 Law Offices of Steve Boyd & John Elmore
                                                 Attn: Stephen Boyd, Esq.
                                                 40 North Forest Road
                                                 Buffalo, NY 14221
                                                 (716) 400-0000

                                                 Law Offices of Mitchell Garabedian, Esq.                 CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Mitchell Garabedian, Esq.                                                       Unliquidated
                                                 100 State Street, 6th Floor                                                           Disputed
                                                 Boston, MA 02109
                                                 (617) 523-6250

                                                 Law Offices of Mitchell Garabedian, Esq.                 CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Mitchell Garabedian, Esq.                                                       Unliquidated
                                                 100 State Street, 6th Floor                                                           Disputed
                                                 Boston, MA 02109
                                                 (617) 523-6250

                                                 Pfau Cochran Vertetis Amala PLLC                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Michael T. Pfau, Esq.                                                           Unliquidated
                                                 403 Columbia Street, Suite 500                                                        Disputed
                                                 Seatle, WA 98104
                                                 (206) 462-4334

                                                 Pfau Cochran Vertetis Amala PLLC                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Michael T. Pfau, Esq.                                                           Unliquidated
                                                 403 Columbia Street, Suite 500                                                        Disputed
                                                 Seatle, WA 98104
                                                 (206) 462-4334

                                                 HoganWillig, PLLC                                        CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: William A. Lorenz, Esq.                                                         Unliquidated
                                                 2410 North Forest Road, Suite 301                                                     Disputed
                                                 Amherst, NY 14068
                                                 (716) 636-7600


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 Debtor    The Diocese of Buffalo, N.Y.                                                                      Case number (if known)
           Name

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 address, including zip code                     creditor contact                                         (for example, trade debts,       contingent,
                                                                                                          bank loans, professional       unliquidated, or
                                                                                                          services, and government           disputed
                                                                                                          contracts)
                                                 Meyers Buth Law Group PLLC                               CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Patrick J. Maloney, Esq.                                                        Unliquidated
                                                 21 Princeton Place, Suite 105                                                         Disputed
                                                 Orchard Park, NY 14127
                                                 (716) 508-8598

                                                 Parker Waichman LLP                                      CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Brett A. Zekowski, Esq.                                                         Unliquidated
                                                 6 Harbor Park Drive                                                                   Disputed
                                                 Port Washington, NY 11050
                                                 (516) 466-6500

 LG 26 Doe                                       Lipsitz Green Scime Cambria, LLP                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Richard P. Weisbeck, Jr., Esq.                                                  Unliquidated
                                                 42 Delaware Avenue, Suite 120                                                         Disputed
                                                 Buffalo, NY 14202
                                                 (716) 849-1333

                                                 Laura A. Ahearn, Esq., PLLC
                                                 Attn: Laura A. Ahearn, Esq.
                                                 3075 Veterans Memorial Highway, Suite 200
                                                 Ronkonkoma, NY 11779
                                                 (844) 524-3276

 LG 29 Doe                                       Lipsitz Green Scime Cambria, LLP                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Richard P. Weisbeck, Jr., Esq.                                                  Unliquidated
                                                 42 Delaware Avenue, Suite 120                                                         Disputed
                                                 Buffalo, NY 14202
                                                 (716) 849-1333

                                                 Laura A. Ahearn, Esq., PLLC
                                                 Attn: Laura A. Ahearn, Esq.
                                                 3075 Veterans Memorial Highway, Suite 200
                                                 Ronkonkoma, NY 11779
                                                 (844) 524-3276
 PB-3 Doe                                        Fanizzi & Barr, P.C.                                     CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Paul K. Barr, Esq.                                                              Unliquidated
                                                 2303 Pine Avenue                                                                      Disputed
                                                 Niagara Falls, NY 14301
                                                 (716) 284-8888

                                                 Phillips & Paolicelli, LLP
                                                 Attn: Diane M. Paolicelli, Esq.
                                                 747 3rd Avenue, 6th Floor
                                                 New York, NY 10017
                                                 (212) 388-5100




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 Debtor    The Diocese of Buffalo, N.Y.                                                                      Case number (if known)
           Name

 Name of creditor and complete mailing           Name, telephone number and email address of              Nature of claim               Indicate if claim is      Unsecured claim
 address, including zip code                     creditor contact                                         (for example, trade debts,       contingent,
                                                                                                          bank loans, professional       unliquidated, or
                                                                                                          services, and government           disputed
                                                                                                          contracts)
 PB-4 Doe                                        Fanizzi & Barr, P.C.                                     CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Paul K. Barr, Esq.                                                              Unliquidated
                                                 2303 Pine Avenue                                                                      Disputed
                                                 Niagara Falls, NY 14301
                                                 (716) 284-8888

                                                 Phillips & Paolicelli, LLP
                                                 Attn: Diane M. Paolicelli, Esq.
                                                 747 3rd Avenue, 6th Floor
                                                 New York, NY 10017
                                                 (212) 388-5100
 PSAS-03 Doe                                     Pusatier, Sherman, Abbott & Sugarman, LLP                CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Stephen F. Pusatier, Esq.                                                       Unliquidated
                                                 2464 Elmwood Avenue                                                                   Disputed
                                                 Buffalo, NY 14212
                                                 (716) 873-6765

 CF-6 Doe                                        Chiacchia and Fleming LLP                                CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Daniel J. Chiacchia, Esq.                                                       Unliquidated
                                                 5113 South Park Avenue                                                                Disputed
                                                 Hamburg, NY 14075
                                                 (716) 608-5595

 W.D                                             Herman Law Firm, P.A.                                    CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Stewart S. Mermelstein, Esq.                                                    Unliquidated
                                                 5200 Town Center, Suite 540                                                           Disputed
                                                 Boca Raton, FL 33431
                                                 (800) 686-9921

 G.D.                                            Merson Law, PLLC                                         CVA lawsuit                  Contingent                   $100,000.00
                                                 Attn: Jordan K. Merson, Esq.                                                          Unliquidated
                                                 150 Esat 58th Street, Floor 34                                                        Disputed
                                                 New York, NY 10155
                                                 (212) 603-9100




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